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                                                  IN THE DISTRICT COURT IN AND FOR
                                                  THE SOUTHERN DISTRICT OF
                                                  FLORIDA, MIAMI DIVISION

                                                  CASE NO. 10-23747-civ
   MARIA SIDLOSCA,

          Plaintiff,

   v.

   HARRISON BYCK LAW OFFICES, P.C.

         Defendant.
   _____________________________________/

                                 NOTICE OF SETTLEMENT

          NOTICE IS HEREBY GIVEN that Plaintiff has filed with the Clerk of the

   District Court of the Middle District of Florida, Plaintiff’s Notice of Settlement. Plaintiff

   hereby respectfully request that this Court allow sixty (60) days within which to complete

   the settlement and to file a Dismissal in this matter.



                                                       Respectfully submitted,
                                                       MARIA SIDLOSCA


                                                      By: s/ Alex Weisberg
                                                      ALEX D. WEISBERG
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                                                      WEISBERG & MEYERS, LLC
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          I HEREBY CERTIFY THAT this Notice was filed on this 8th day of December,

   2010, by means of the CM/ECF system which will send notice of electronic filing to the

   following: Mr. Harrison Ross Byck, hbyck@dbgnlaw.com.




                                                   By: s/ Alex Weisberg
                                                   ALEX D. WEISBERG
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